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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


FAIR FIGHT ACTION, INC; CARE IN
ACTION, INC; EBENEZER BAPTIST
CHURCH OF ATLANTA, GEORGIA, INC.;
BACONTON MISSIONARY BAPTIST
CHURCH, INC; VIRGINIA-HIGHLAND
CHURCH, INC.; and THE SIXTH
EPISCOPAL DISTRICT, INC.,
     Plaintiffs,

     v.                                          Civ. Act. No. 1:18-cv-05391-SCJ

BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of the State of
Georgia and as Chair of the State Election
Board of Georgia; REBECCA N. SULLIVAN,
DAVID J. WORLEY, MATTHEW
MASHBURN, and ANH LE, in their official
capacities as members of the STATE
ELECTION BOARD; and STATE ELECTION
BOARD,

     Defendants.



      SECOND AMENDED COMPLAINT FOR DECLARATORY
                AND INJUNCTIVE RELIEF
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                                                     1
                                INTRODUCTION

      1.     Without the right to vote, all other democratic rights are illusory.

Fair elections ensure the consent of the governed; they are the moral foundation

of the compact between the government and its citizens.

      2.     In the 2018 General Election (the “2018 Election”), Georgia’s

elections officials broke that compact. The Secretary of State, the State Election

Board, and its members (“Defendants”) enforced unconstitutional and otherwise

unlawful legislation, created and enforced unconstitutional and otherwise

unlawful policies, and engaged in gross mismanagement that resulted in an

election that deprived Georgia citizens, and particularly citizens of color, of their

fundamental right to vote. This Second Amended Complaint describes the serious




1
 Pursuant to this Court’s November 17, 2020 Order granting leave to amend,
ECF No. 570, Plaintiffs hereby amend their Amended Complaint to eliminate all
claims and counts under which they are no longer proceeding and to update the
State Election Board defendants named individually. Plaintiffs have corrected
typographical errors and, so as not to reallege statements that are now outdated
due to changes in Georgia law or Plaintiffs’ understanding of the facts, Plaintiffs
have also deleted or made limited modifications to certain allegations in this
Second Amended Complaint.
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and unconstitutional flaws in Georgia’s elections process—flaws that persist

today.

         3.   The resulting elections process violates the First, Fourteenth, and

Fifteenth Amendments to the United States Constitution and Section 2 of the

Voting Rights Act, 52 U.S.C. § 10301.

         4.   The responsibility for ensuring access to the ballot is a bipartisan

responsibility—and one that, if ignored, will harm our democracy. Without judicial

relief, the violations detailed in this Second Amended Complaint will continue

and taint the outcome of future elections in Georgia.

                   PARTIES, JURISDICTION, AND VENUE
         5.   This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because

this action arises under the laws of the United States of America.

         6.   This Court also has jurisdiction pursuant to 28 U.S.C. § 1343(a) and

42 U.S.C. §§ 1983, 1988(a) because this action seeks to redress the deprivation,

under color of state law, of rights, privileges, and immunities secured by the First,

Fourteenth, and Fifteenth Amendments to the U.S. Constitution and Section 2 of

the Voting Rights Act, 52 U.S.C. § 10301.




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       7.     This Court has jurisdiction to grant both declaratory and injunctive

relief pursuant to 28 U.S.C. §§ 2201, 2202.

       8.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(1) because

defendant Brad Raffensperger is a resident of this district.

       9.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred in

this district and division.

       10.    Plaintiff Fair Fight Action, Inc. (“Fair Fight Action”), formerly

known as Voter Access Institute, is an Internal Revenue Code § 501(c)(4)

nonprofit entity organized under the laws of Georgia. Fair Fight Action’s core

mission is to secure the voting rights of Georgians. The unconstitutional and

otherwise unlawful legislation, policies, and misconduct alleged in this Second

Amended Complaint thwart Fair Fight Action’s mission and will continue to do

so in the future.

       11.    When it was known as Voter Access Institute, the organization

conducted a large vote-by-mail program; provided voters with information about

upcoming elections (e.g., how and where to vote, polling place hours and




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locations, ballot information, and voter registration deadlines); and engaged in a

get-out-the-vote program during early voting and on Election Day. Fair Fight

Action also engages with and advocates for Georgians on other issues, including

health care.

      12.      Fair Fight Action’s past voter-related efforts were focused on getting-

out-the-vote activities and providing voters with general information about

upcoming elections and voter registration. Those efforts were not focused on

educating voters about how to overcome the voter suppression efforts described

in this Second Amended Complaint and did not entail efforts to reform the

election system. While Fair Fight Action plans to continue its past work, Fair

Fight Action will also implement new education programs and engage in election

reform efforts that are focused specifically on counteracting problems voters

encountered in the 2018 Election as a result of the unconstitutional and otherwise

unlawful legislation, policies, and actions alleged in this Second Amended

Complaint. Fair Fight Action’s new activities are in direct response to the voter

suppression that occurred in connection with the 2018 Election.




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      13.    Engaging in these new activities to counteract the voting

impediments alleged in this Second Amended Complaint will require Fair Fight

Action to expend additional resources diverted from its other programs, such as

getting-out-the vote drives and providing voters with general information on

upcoming elections. This diversion of resources is necessitated by and directly

traceable to Defendants’ misconduct described in this Second Amended

Complaint. If, however, the relief requested in this Second Amended Complaint

is granted, that relief will redress Fair Fight Action’s injuries.

      14.    Plaintiff Care in Action, Inc.(“Care in Action”) is an Internal

Revenue Code § 501(c)(4) nonprofit entity organized under the laws of

Delaware. Care in Action is dedicated to fighting for dignity and fairness for the

millions of domestic workers in the United States. Care in Action works on a

number of issues, including immigration, sexual harassment, and human

trafficking. Its activities have included organizing and training domestic workers,

as well as direct service work (e.g., providing food to a refugee camp).

      15.    To further its mission of securing fairness and dignity for domestic

workers, Care in Action encourages domestic workers to vote so that they have a




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voice in the issues that affect them. During the campaign for the 2018 Election,

Care in Action provided voters with basic information about the election,

including the date of Election Day. Care in Action also conducted significant

advocacy and outreach activities to ensure that domestic workers and others

could be well-informed when casting their ballots. Care in Action registered with

the Georgia Government Transparency and Campaign Finance Commission as an

independent committee due to the portion of its activities that consisted of

independent expenditures in support of several statewide and legislative

candidates in the 2018 Election.

      16.    The unlawful legislation, policies, and misconduct alleged in this

Second Amended Complaint with respect to the 2018 Election thwarted Care in

Action’s mission by burdening domestic workers’ right to vote.

      17.    Care in Action dedicated significant resources to counteracting the

voter suppression that occurred during the 2018 Election. For example, Care in

Action contacted voters who cast provisional ballots to ensure that they took the

steps required to cause the State to count their ballots. Multiple national Care in

Action staff—who lived outside of Georgia but had been in the State to help with




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election efforts—stayed in Georgia for weeks after the election. These were not

people who regularly worked on voting rights issues. They included Care in

Action’s Digital Director, as well as a person who regularly worked on

immigration. The usual work these Care in Action employees were supposed to

be doing during this time went undone.

      18.    As a result of Care in Action’s experience with Georgia’s 2018

Election—during which domestic workers were disenfranchised—the

organization has now shifted its budget priorities and added more staff to address

voting rights. Care in Action will provide education and assistance to voters so

that Defendants’ wrongdoing does not prevent those voters from voting and

having their votes counted. To carry out these efforts, the organization has

diverted, and will continue to divert, resources from its efforts with respect to

other core issues, including a federal domestic workers bill of rights, immigration,

sexual harassment, and human trafficking, and has sacrificed non-voting rights

work it had hoped to do in the future.

      19.    Because the unlawful legislation, policies, and misconduct alleged in

this Second Amended Complaint are ongoing and will continue unless this Court




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grants the relief Plaintiffs are requesting, Care in Action will have to continue

diverting resources in the future to counteract that voter suppression in upcoming

Georgia elections.

      20.    Care in Action’s above-described diversion of resources is

necessitated by and directly traceable to Defendants’ enforcement of

unconstitutional legislation and policies and to Defendants’ other misconduct

alleged in this Second Amended Complaint, and Care in Action’s injuries will be

redressed by the relief requested herein.

      21.    Plaintiff Ebenezer Baptist Church of Atlanta, Georgia, Inc.

(“Ebenezer”), is an Internal Revenue Code § 501(c)(3) nonprofit entity organized

under the laws of Georgia. Ebenezer is a 6,000-member church that has long-

served Atlanta’s African American community and has been at the forefront of

the civil rights movement. Its purpose is to be a global ministry dedicated to

individual growth and social transformation through living in the message and

carrying out the mission of Jesus Christ. The church believes that the test of a

congregation’s spiritual health and the relevance of its ministry is their effect on

the community.




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      22.    Voting rights are at the core of Ebenezer’s work for social

transformation; without a voice, people cannot speak. Ebenezer has been engaged

in the fight for voting rights since at least 1935, when its then head pastor, Martin

Luther King, Sr., led a voting rights campaign in Atlanta, Georgia. Since 1935,

Ebenezer’s pastors, leadership, and congregation have been active in efforts to

educate and empower its congregants and community. In alignment with its

mission of social transformation, Ebenezer regularly sponsors voter registration

drives and activities, partners with community organizations to raise awareness

regarding voting, provides information and education to the community about

voting, and provides community members with rides to voting locations. The

unconstitutional and otherwise unlawful legislation, policies, and misconduct

alleged in this Second Amended Complaint thwart Ebenezer’s mission and will

continue to do so in the future, unless redressed.

      23.    In addition to the more generalized voter awareness and registration

efforts described in the preceding paragraph, Ebenezer has undertaken work to

counteract voter suppression. Prior to the 2018 Election cycle, Ebenezer urged

people to vote early so that they would have time to try to remedy any




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impediments to voting caused by voter suppression tactics. In connection with the

2018 Election, however, the church’s concerns about voter suppression and the

integrity of the elections system were heightened due to the extent of the voter

suppression tactics being employed to prevent people from voting at their polling

places and due to the publicity about the lack of security surrounding the DRE

system and its failure to produce an auditable and verifiable paper trail. To

counteract these problems—problems alleged in this Second Amended

Complaint— Ebenezer engaged in an extensive vote-by-mail campaign. This new

campaign required significant time and effort: all of the Ebenezer ministers on

staff were involved in some aspect of it, as was the church’s administrative staff.

Church space and volunteers were also dedicated to this campaign. To expend the

resources necessary to carry out this campaign, Ebenezer had to divert resources,

including personnel and time, from its other ministries and activities. As long as

the wrongful conduct alleged in this Second Amended Complaint continues in

future election cycles, Ebenezer will continue to divert resources to counteracting

it. In fact, Ebenezer expects to undertake additional activities in future election

cycles to counteract the wrongdoing alleged in the Second Amended Complaint.




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To carry out these activities, Ebenezer will be required to divert resources from

its other church activities.

      24.    Ebenezer’s past and future diversion of resources to counteract the

wrongdoing alleged in the Second Amended Complaint has been, and will in the

future be, necessitated by and directly traceable to Defendants’ misconduct. If,

however, the relief requested in this Second Amended Complaint is granted, that

relief will redress Ebenezer’s injuries.

      25.    Plaintiff Baconton Missionary Baptist Church, Inc. (“BMBC”) is a

Christian church, established and existing as a nonprofit religious corporation

under the laws of the State of Georgia. BMBC is dedicated to building a

biblically-based community of loving relationships where members love, follow,

and model Jesus on a daily basis. BMBC considers voting an integral part of its

community building mission. Thus, during past election cycles, including during

the 2018 Election, BMBC’s civic activities have included various voter

engagement activities, including voter registration drives, voter education efforts,

and weekly prayer meetings for Georgia candidates running for office.




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      26.    The unconstitutional legislation, policies, and conduct alleged in this

Second Amended Complaint frustrated BMBC’s community-building mission and

will continue to do so in the future. Leading up to the 2018 Election, BMBC’s

head pastor learned of the purges of registered voters from Georgia’s voter

registration rolls pursuant to the “use it or lose it” statute described in this Second

Amended Complaint. In response to learning of those purges, BMBC diverted

time of its church volunteers and church resources to assist church and

community members determine whether they had been purged from the voter

rolls. In future election cycles, BMBC will continue to dedicate resources to

counteract the conduct alleged in this Second Amended Complaint. In the

absence of Defendants’ misconduct, BMBC, a religious organization with limited

resources, would be able to use those resources on other church activities.

      27.    BMBC’s above-described diversion of resources was, and will

continue to be, necessitated by and directly traceable to Defendants’ enforcement

of unconstitutional legislation and policies, and to Defendants’ other misconduct

alleged in this Second Amended Complaint, and BMBC’s injuries will be

redressed by the relief requested herein.




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      28.    Plaintiff Virginia-Highland Church, Inc. (“Virginia-Highland”) is an

Internal Revenue Code § 501(c)(3) nonprofit corporation and Atlanta church that

was established in 1923. The church’s mission is to “do justice, love mercy, and

walk humbly.” Since its inception, Virginia-Highland has focused on inclusivity

and has championed social justice for marginalized members of society. Virginia-

Highland views voting rights as being at the heart of inclusivity and social justice

issues. In the past, Virginia-Highland has encouraged people to vote. Its efforts

have included voter registration for the congregation and wider church

community, training congregants to help others register to vote, voter engagement

efforts, generally, and assisting with Election Day transport. Those previous

efforts were not focused on educating voters about how to overcome the voter

suppression described in this Second Amended Complaint.

      29.    The racial dynamics and disparities that were evident during the

2018 Election cycle are contrary to Virginia-Highland’s mission and spurred the

church to action. For future elections, and in direct response to the voter

suppression the church saw in the 2018 Election, Virginia-Highland will create

programs specifically geared towards educating voters on how to overcome the




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obstacles, alleged in this Second Amended Complaint, to voter registration and to

having votes counted.

      30.    For Virginia-Highland to provide those programs, Virginia-Highland

will have to divert to them church resources that otherwise would have been

dedicated to other church ministries and activities. This diversion of resources

will be necessitated by and directly traceable to Defendants’ misconduct

described in this Second Amended Complaint. If the relief requested in this

Second Amended Complaint is granted, that relief will redress Virginia-

Highland’s injuries.

      31.    Plaintiff The Sixth Episcopal District, Inc. (d/b/a the “Sixth

Episcopal District of the African Methodist Episcopal Church” or the “Sixth

District A.M.E.”) is a collective group of twelve church districts representing 534

Georgia African Methodist Episcopal (“A.M.E.”) churches. It is incorporated

pursuant to the laws of the State of Georgia and is an Internal Revenue Code §

501(c)(3) nonprofit entity. Sixth District A.M.E. principles are in keeping with

the A.M.E. Church motto, “God Our Father, Christ Our Redeemer, Man Our

Brother,” and place a high value on social service. As such, Sixth District




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A.M.E.’s mission priorities are “church growth, Christian education, handling

money God’s way, and social justice.”

       32.   Voting rights are of great current and historical importance to Sixth

District A.M.E.’s social justice mission. Sixth District A.M.E. churches grew, in

large part, through missionary efforts to newly-freed slaves in Georgia during the

post-Civil War Reconstruction era. Many Sixth District A.M.E. member-churches

played an important role during the Civil Rights movement, with church buildings

hosting mass meetings for Civil Rights leaders. Sixth District A.M.E. leadership

has addressed election priorities within its largely African American churches and

communities as part of its social justice initiative, encouraging voter registration

at all congregations, and providing funding for transportation to the polls on

Election Day. The voter suppression tactics alleged in the Second Amended

Complaint frustrated Sixth District A.M.E.’s mission of working for social

justice.

       33.   In connection with the 2018 Election, Sixth District A.M.E.

leadership undertook district-wide voter education and empowerment efforts.

Bishop Reginald Jackson traveled to most of the twelve Georgia districts asking




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church elders to encourage congregants to vote early and by mail and emphasizing

the importance of voting and understanding candidates’ positions on the issues.

Also in connection with the 2018 Election, Sixth District A.M.E. leadership urged

church leadership to speak to their congregations about the many sacrifices made

to secure the vote for African Americans and to encourage congregants to educate

themselves on 2018 Election matters and to vote. To further effect its mission in

connection with the 2018 Election, Sixth District A.M.E. also registered voters

within its member churches and local communities, assisted with voter registration

record verification, encouraged congregants to vote (and to encourage others to do

the same), and coordinated efforts to deliver voters to the polls on Election Day.

      34.    These previous efforts were issue-driven to encourage voting. They

were not focused on educating voters about how to overcome the voter

suppression described in this Second Amended Complaint. While Sixth District

A.M.E. plans to continue its past “Souls to the Polls” work, the voter suppression

tactics that it saw in the 2018 Election have led it believe that it needs to spend

additional resources specifically to counteract voter suppression. In the future,

and among other things, the Sixth District A.M.E. will not only emphasize the




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importance of voting by mail but will also follow-up with congregants to ensure

that they were able to vote and that their ballots have actually been counted.

      35.    For Sixth District A.M.E. to undertake the additional efforts to verify

that its congregants have voted and that their ballots were counted, the District

will have to divert resources that otherwise would have been dedicated to

ministries and programs, including those for food banks and homeless shelters,

across 534 Georgia churches. This diversion of resources will be necessitated by

and directly traceable to Defendants’ misconduct described in this Second

Amended Complaint. If the relief requested in this Second Amended Complaint

is granted, that relief will redress Sixth District A.M.E.’s injuries.

      36.    Brad Raffensperger is Georgia’s Secretary of State and is named

solely in his official capacity. The Secretary of State is the constitutional officer

serving as Georgia’s chief official who oversees and administers elections.

O.C.G.A. § 21-2-50. The Secretary of State is also the chairperson of the State

Election Board. O.C.G.A. § 21-2-30(d). As the chief elections officer designated

under the Help America Vote Act of 2002 (“HAVA”), the Secretary of State is




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also responsible for coordinating the obligations of the state under HAVA.

O.C.G.A. § 21-2-50.2.

      37.    Defendant State Election Board of Georgia is responsible for, inter

alia, (1) promulgating rules and regulations to “obtain uniformity” in the

practices and proceedings of elections officials, “as well as the legality and

purity in all . . . elections”; (2) formulating, adopting, and promulgating rules

and regulations “conducive to the fair, legal, and orderly conduct of primaries

and elections”; (3) promulgating rules and regulations to “define uniform and

nondiscriminatory standards concerning what constitutes a vote and what will be

counted as a vote”; and (4) investigating frauds and irregularities in elections.

See O.C.G.A. § 21-2-231.

      38.    Defendants Rebecca N. Sullivan, David J. Worley, Matthew

Mashburn, and Anh Le are members of the State Election Board of Georgia and

are named solely in their official capacity. As members of the State Election

Board, their responsibilities include: (1) promulgating rules and regulations to

“obtain uniformity” in the practices and proceedings of elections officials, “as

well as the legality and purity in all . . . elections”; (2) formulating, adopting, and




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promulgating rules and regulations “conducive to the fair, legal, and orderly

conduct of primaries and elections”; (3) promulgating rules and regulations to

“define uniform and nondiscriminatory standards concerning what constitutes a

vote and what will be counted as a vote”; and (4) investigating frauds and

irregularities in elections. See O.C.G.A. § 21-2-31.

                          FACTUAL ALLEGATIONS

      39.    Georgia has a history of neglecting its election’s infrastructure and

suppressing votes—particularly those of people of color.

      40.    Many long-standing barriers to voting were halted by the Voting

Rights Act of 1965 (“the Voting Rights Act” or “the Act”), 52 U.S.C. §§ 10101-

10702. But, after Shelby County v. Holder, 570 U.S. 529 (2013), removed the
                                                       2
Act’s preclearance requirement for voting changes, Georgia began again to erect

discriminatory voting barriers reminiscent of the Jim Crow era.




2
  Before the Supreme Court’s decision in Shelby County, Georgia needed
“preclearance” from the United States Department of Justice to implement
changes in its elections, such as the location of a polling place, to prevent the
state from implementing policies that discriminate against voters of color. Shelby
County struck down that preclearance requirement.

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      41.    The U.S. Commission on Civil Rights, a bipartisan, independent

agency, found that, among the states previously subject to preclearance under the

Voting Rights Act, Georgia was the only state that had implemented voting

restrictions in every category the Commission examined: strict requirements for

voter identification; documentary proof of U.S. citizenship; purges of voters from

voter registration rolls; cuts to early voting; and a raft of closed or relocated

polling locations.

      42.    The Secretary of State is Georgia’s chief official who oversees and

administers elections; the Secretary also serves as Georgia’s chief architect of
                         3
these voting barriers.
      43.
             The 2018 election cycle drew historic voter registration and turnout,

particularly among voters of color. Almost four million people voted, including

hundreds of thousands of voters of color for the first time. This voter turnout was

more than that for any previous midterm election in Georgia history—and would



3
  Brian Kemp, Georgia’s new Governor, served as Secretary of State from early
2010 (shortly before the preclearance requirements under the Voting Rights Act
were eliminated) until two days after the November 6, 2018, gubernatorial
election that he administered and oversaw.

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have been even greater but for the unconstitutional and otherwise unlawful

legislation, policies, and misconduct alleged in this Second Amended Complaint.

The rise in turnout cannot be allowed to mask a more troubling trend of voter

suppression.

      44.      Decades-long neglect of the Georgia elections infrastructure left the

voting system virtually guaranteed to fail. Time-tested voter suppression tactics

further burdened the right to vote: voters faced an unconstitutional statute whose

arbitrary enforcement purged thousands of voters from the voter registration

rolls; an “exact match” policy that prevented voters from registering to vote; the

systematic disregard for established rules and requirements, including those for

absentee and provisional ballots; the failure to provide polling places with

resources adequate to enable a fair voting process; and other policies and

practices that stymied Georgians trying to exercise their right to vote. In isolation,

each example is troubling because it represents a voter who could not fully

participate in this democracy. Combined, they represent the disenfranchisement

of Georgia voters in general, and targeted communities of color or low-income

neighborhoods in particular.




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      45.    In 1997, Georgia enacted legislation (the “use it or lose it” statute)

requiring Georgia citizens to be purged from the voter registration rolls based in

large measure on whether they decided to vote in certain time frames. O.C.G.A. §

21-2-234. In 2017 alone, the Secretary of State used this unconstitutional statute

to purge the voter rolls of nearly ten percent of Georgia’s registered voters.

      46.    Many Georgians worked tirelessly to register new voters. In

response to these voter registration efforts, then-Secretary of State Kemp adopted

an extreme interpretation of the statute requiring a “match” between the

information on a voter registration form and other government records,

implementing a policy requiring the match to be exact. Under the “exact match”

policy, inconsequential typographical mismatches were used to deny Georgians

their right to vote. These mismatches were often caused by technical limitations

on government computer systems or typographical errors by government

employees. Before a federal court halted the practice, the “exact match” policy

suspended tens of thousands of new voter registrations.

      47.    Georgia elections officials deployed a known strategy of voter

suppression: closing and relocating polling places. Over the years leading up to




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the 2018 Election, elections officials closed or moved approximately 305 polling

places, many in neighborhoods with numerous voters of color. Fewer polling

places meant that the remaining locations strained to accommodate an influx of

voters. Yet elections officials failed to supply sufficient, functioning voting

machines (both DRE and Express Polls), and enough provisional ballots.

Depriving polling places of basic tools needed for voting meant that voters who

arrived at polling places anxious and excited to express their patriotism through

the basic, fundamental act of voting were met with hours-long lines. Some lines

were four hours long. Georgians who could not wait—because of disability,

health, or work or family obligations— effectively lost the right to vote.

      48.    Voters who managed to reach their polling places and endure the

wait to reach a poll worker then faced an increased chance that they would not be

found on the voter rolls. A voter who is registered to vote at a precinct but cannot

be confirmed by a poll worker can vote by provisional ballot. Yet the provisional

ballot process failed.

      49.    Georgia law requires elections officials to provide a provisional

ballot to any voter whose registration cannot be confirmed, but many poll




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workers either did not understand the requirement or simply refused to comply. In

other locations, particularly high-turnout precincts for voters of color, precincts

ran out of provisional ballots. Without access to provisional ballots, many voters

lost their right to vote entirely.
                                              4
       50.    Absentee ballots fared no better. Thousands of Georgians who cast

absentee ballots—one way to avoid long lines and other voting place problems—

experienced significant impediments. Some voters who applied for an absentee

ballot never received one; some received a ballot too late to ensure that it would

be counted; and some had their applications or ballots illegally rejected. Elections

officials also misinformed voters about whether absentee ballots had been

accepted, preventing potential absentee voters from curing purported deficiencies

in their ballots.

       51.    Further, Defendants knowingly left Georgia’s voting infrastructure

vulnerable to hacking. Georgia maintains one of the least secure elections



4
  Georgia law describes in-person voters at early voting locations as absentee
voters. Because this description is different from how the terms are commonly
used, this Second Amended Complaint uses “absentee voting” to describe
traditional mail-in absentee voting only.

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systems in the country. Despite being aware of these well-publicized

vulnerabilities for years, the Secretary of State and State Election Board rejected

and rebuffed attempts, including by the federal Department of Homeland

Security, to improve the data security of the Georgia database of voters.

      52.    These problems in Georgia’s voting system are pervasive, severe,

chronic, and persistent. Their foreseeable, cumulative effect is to disenfranchise

Georgia voters or severely burden their right to vote, with voters of color being

particularly targeted and affected. Georgia voters will continue to be

disenfranchised or have their voting rights severely burdened unless this Court

grants the relief requested in this Second Amended Complaint.

I.    Defendants Are Responsible for Georgia’s Election System.

      53.    Georgia’s election system is administered at the state-level and

directed by the Secretary of State and the State Election Board. The Secretary of

State is the chief elections officer in Georgia. O.C.G.A. § 21-2-50. The State

Election Board is responsible for ensuring uniform election processes across the

state. O.C.G.A. § 21-2-31. The Secretary of State chairs the State Election Board,

which has four additional members. O.C.G.A. § 21-2-30(a).




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      54.    The Secretary of State and the State Election Board are responsible

for the election system as a whole, a responsibility that includes promoting and

supporting accurate, fair, open, and secure elections; implementing election laws,

regulations, and policies that are consistent with Georgia law and the

constitutional rights of the voters of Georgia; and ensuring consistency across

counties to guard the rights of Georgians.

      55.    The “Elections” page of the Secretary of State’s website describes

the Secretary’s broad authority over elections: “The Elections Division of the

Secretary of State’s Office organizes and oversees all election activity, including

voter registration, municipal, state, county, and federal elections. . . . They are also
                                                                                    5
accountable for investigating election fraud and enforcing state election laws.”

      56.    The Secretary of State is responsible for maintaining the official list

of registered voters, O.C.G.A. § 21-2-50(a)(14), and is the designated state

official for ensuring compliance with the Help America Vote Act of 2002, 52

U.S.C. §§ 20901 et seq. See O.C.G.A. § 20-2-50.2.



5
 Ga. Sec’y of State, Elections, http://sos.ga.gov/index.php/elections (last visited
Dec. 1, 2020).

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      57.    The Secretary of State is also responsible for preparing ballots,

election forms, and other materials to distribute across the state, and for training

county elections officials, including registrars and superintendents. O.C.G.A. §

21-2-50(a)(5), (11).

      58.    Voting machines are “supplied by the Secretary of State or purchased

by the counties with the authorization of the Secretary of State.” Ga. Comp. R. &

Regs 183-1-12-.01, .02, .07.

      59.    The Secretary of State is also responsible for tabulating the

consolidated election returns from Georgia’s counties, for directing county

election superintendents to conduct vote recounts, and for certifying the vote total

for federal and state offices, among other offices. See O.C.G.A. §§ 21-2-50(b), -

495, -499; Ga. Comp. R. & Regs. 590-1-1-.01, .02. This District recently

explained that the Secretary has robust supervision of the counties when

certifying elections: “[t]he certification process required of the Secretary of State

under Georgia law, on its face, is more than a mere rubber stamp. It requires that

Secretary of State to engage in the same tabulation, computation, and canvassing

process undertaken by the counties as set forth in O.C.G.A. § 21-2-493 prior to




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final certification. And in the event errors are discovered, the Secretary of State

shall notify and direct the counties to engage in a redo.” Common Cause Ga. v.

Kemp, 347 F. Supp. 3d 1270, 1291 (N.D. Ga. 2018).

       60.    The Secretary of State takes an active role in how counties conduct

elections. For example, before the 2018 Election, Randolph County hired a

consultant to help it determine whether polling locations should be changed. That

consultant recommended closing seven of the nine polling locations in the

majority African American county before the election. The Secretary of State’s

Office acknowledged that it recommended the consultant to Randolph County.

The Secretary of State had also recommended what the consultant should do: In a

presentation to Randolph County residents, the consultant, Mike Malone,

displayed a slide that said, “[c]onsolidation has come highly recommended by the

Secretary of State. . . .”

       61.    The State Election Board, whose Chair is the Secretary of State, is

responsible for “promulgating rules and regulations so as to obtain uniformity in

the practices and proceedings of superintendents, registrars, deputy registrars,




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poll officers, and other officials, as well as the legality and purity in all primaries

and elections.” O.C.G.A. § 21-2-31(1).

      62.    The State Election Board is responsible for distributing “indexed

copies of all primary and election laws and pertinent rules and regulations then in

force.” O.C.G.A. § 21-2-31(3).

      63.    The State Election Board must also “formulate and conduct a voter

education program concerning voting procedures for voting by absentee ballot

and at the polls with particular emphasis on the proper types of identification

required for voting.” O.C.G.A. § 21-2-31(9).

      64.    The State Election Board has broad authority to act “as the board may

determine to be conducive to the fair, legal, and orderly conduct of primaries and

elections.” O.C.G.A. § 21-2-31(10). And, recently, the Fulton County Director of

Registration and Elections, Mr. Richard Barron, testified “The State Election

Board has the -- the ultimate authority over the boards, the -- the Fulton County
                                        6
Board of Registration and Elections.”



6
 Transcript of Record at 35:14-16, Coal. for Good Governance v. Crittenden, No.
2018-CV-313418 (Ga. Sup. Ct. Jan. 18, 2019).

                                            29
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      65.    Thus, while Georgia counties have responsibility for some aspects of

Georgia elections, the Secretary of State and the State Election Board have broad

authority to oversee, manage, and train the counties on their duties. And, if the

counties fail in their responsibilities, the Secretary of State and the State Election

Board can impose penalties. See O.C.G.A. § 21-2-31(5).

      66.    Indeed, a presentation by then-Secretary Kemp in 2011 details the

duties of the Secretary of State and of the State Election Board. He explained the

Secretary of State is “empowered with numerous” duties and responsibilities,

including “[g]enerally facilitating the operation of the State’s election system by

helping to train and coordinate with the various local elections officials.” “As

such,” the Secretary of State wrote, “local elections officials look to the Secretary

of State for guidance and coordination on elections questions.” As for the State

Election Board, the Secretary of State described it as “[c]reat[ing] and enforc[ing]

rules regarding elections” and “[t]ak[ing] action to ensure fair, legal, and orderly

conduct of primaries and elections.”




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       67.   Thus, Defendants directly administer and supervise Georgia’s

elections processes and are ultimately responsible for overseeing the entire

system.

II.    Defendants Disenfranchise Voters.

       68.   The unconstitutional and otherwise unlawful legislation, policies,

and other misconduct alleged in this Second Amended Complaint disenfranchise

voters and thwart new voter registrations, with the impact disproportionately

affecting low-income voters and voters of color. If not enjoined, Defendants will

continue to disenfranchise Georgia voters and suppress their voting rights in the

future.

       A.    “Use It or Lose It” Statute: The Secretary of State Purges
             Georgians From the Rolls of Registered Voters.

       69.   Georgia’s Secretary of State is responsible for maintaining the

state’s voter registration list. Georgia law requires the Secretary of State to

ascertain regularly whether Georgia voters have moved, died, been convicted of a

felony, or been declared mentally incompetent. See O.C.G.A. § § 21-2-231, -232.

       70.   The statute mandates that the Secretary of State coordinate with

other state agencies and the U.S. Postal Service to obtain information the



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Secretary of State uses to indicate whose names should be removed from the

voter registration rolls or whose voter registration information should be updated.

See O.C.G.A. § 21-2-231, -233. On information and belief, the Secretary of State

subscribes to a private service that provides all change of address notifications

filed with the U.S. Postal Service.

      71.    Under Georgia’s “use it or lose it” statute, the Secretary of State

must also remove voters’ names from the registration list based primarily on

whether those voters voted recently. Voters who opted not to vote or otherwise

did not contact elections officials within a certain period of time (before 2019,

within the past three years, and now, within the past five years)—for example, by

updating their addresses—are sent a single postcard notifying them that they may

lose their right to vote. O.C.G.A. § 21-2-234 (2018); O.C.G.A. § 21-2-234

(2019). The postcard asks voters to confirm their current address. If a voter fails

to return the postcard, the voter’s status on the registration list is changed to

“inactive.” If the voter does not vote in the next two general elections, he or she

will be purged from the rolls of registered voters.




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          72.   Then-Secretary Kemp purged hundreds of thousands of voter

registrations under the “use it or lose it” statute. Many of those purged voters had

not moved, had not died, and had not been convicted of a felony. The registration

information for these voters remained accurate; the Secretary of State simply

deemed them no longer eligible to vote because those voters chose not to vote in

certain elections and failed, one time, to return a postcard. As a result of the “use

it or lose it” statute and the Secretary of State’s purges, Georgia’s voter rolls have

become less accurate.

          73.   Many Georgia voters learned they had been purged from the voter

rolls only when they showed up to vote. For example, on Election Day in 2018, a

poll watcher at the Iglesia Bautista Nueva Jerusalén polling location in Gwinnett

County observed many people being told they were not on the voter rolls. The

poll watcher saw at least five voters who had previously voted at the polling

location and had not moved residences, but who were no longer on the voter

rolls.




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      74.    Georgia does not provide same-day registration for voters. Thus,

voters who learn they are purged from the rolls only when they show up to vote

on Election Day are denied their right to vote.

      75.    Purging voters from the voter rolls because of voter inactivity

penalizes infrequent voters, who are disproportionately young, poor, and people

of color, and voters who make a conscious choice not to vote in every election.

      76.    For example, in the 2008 and 2012 Elections, when President Obama

headed the Democratic ticket, voter turnout among African American women was

eighty percent and seventy-seven percent, respectively. For African American men,

the turnout numbers for those elections were seventy percent and sixty-six percent,

respectively. But in 2014, with the governorship and a U.S. Senate seat at stake,

African American voters signaled their lack of enthusiasm for the candidates by

not voting, causing African American voter turnout to plummet. In fact, in only

one Georgia county did turnout for African American women exceed sixty

percent and in only fourteen other counties did that turnout exceed fifty percent.




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That same pattern persisted in 2016. In 2018, however, African American voter
                 7
turnout surged , as many voters chose to engage in the political process again.

       77.      The “use it or lose it” statute, as well as its enforcement by

Defendants, unlawfully disenfranchises voters or severely burdens their right to

vote by penalizing voters based on their voting choices, providing voters

inadequate notice, and failing to ameliorate the purges by offering same-day

registration.

       78.      Further exacerbating these harms, the “use it or lose it” statute is

subject to manipulation, and has in fact been manipulated, for political benefit.

For example, then-Secretary Kemp waited until before his own elections to

remove hundreds of thousands of voters under the statute. In 2014, when he was

running for reelection, then-Secretary Kemp purged over 250,000 people under

the “use it or lose it” statute. In 2017, when he was running for governor in the

upcoming 2018 Election, then-Secretary Kemp purged over 665,000 people

under the “use it or lose it” statute. In a single night in July 2017, he struck over



7
  See Ga. Sec’y of State, Elections, sos.ga.gov/index.php/elections/voter_
registration_statistics (last visited February 4, 2019).

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500,000 people from the voter rolls—approximately eight percent of Georgia’s

registered voters. The Atlanta Journal-Constitution called it the “largest mass
                                        8
disenfranchisement in U.S. history.” By contrast, in years when he was not

running for office (2013, 2015, and 2016), then-Secretary Kemp removed fewer

than 100 people cumulatively under the “use it or lose it” statute.

          79.   Defendants have no compelling or substantial governmental interest

for this irregular and arbitrary removal of voters from Georgia’s registration rolls;

nor does the “use it or lose it” statute, which results in less accurate voting rolls,

serve any compelling or substantial governmental interest in maintaining the

rolls.

          80.   Secretary of State Raffensperger has publicly stated that he will

continue removing voter registrations under the “use it or lose it” statute.

          81.   The “use it or lose it” statute—and the selective, arbitrary purges of

voters that occur, and will continue to occur, under it—violate Georgia voters’



8
 Alan Judd, Georgia’s Strict Laws Lead to Large Purge of Voters, Atlanta J.-
Const. (Oct. 27, 2018), https://www.myajc.com/news/state--regional-govt--
politics/voter-purge-begs-question-what-the-matter-with-
georgia/YAFvuk3Bu95kJIMaDiDFqJ.

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rights under the First and Fourteenth Amendments. The “use it or lose it” statute

penalizes voters for voicing their dissatisfaction with candidates by opting not to

vote. It also disenfranchised thousands of Georgia voters in the 2018 Election and

will continue to disenfranchise voters in the future.

      B.     “Exact Match” Policy: The Secretary of State Prevents
             Georgians From Registering to Vote.

      82.    Many Georgians submitted new voter registration forms shortly

before the 2018 Election. Yet many of those registrations were rejected under an

aggressive and extreme interpretation of Georgia’s statute requiring voter

registration information to match information in certain government files.

      83.    Georgia law requires the state’s voter registration information to

match the information in the state’s Department of Driver Services (“DDS”) files

if the voter uses his or her driver’s license as proof of identity. O.C.G.A. § 21-2-
      9
220.1. As of 2018, if a voter’s application information did not match those files,

the Secretary of State held the application in “pending” status. An applicant




9
  If the voter uses a Social Security card, then the information must match the
records in the Social Security Administration. On information and belief, the vast
majority of people use a driver’s license instead of a Social Security card.

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whose registration was pending needed to resolve the mismatch; if the applicant

failed to do so, the Secretary of State would reject the application. Ga. Coal. for

People’s Agenda, Inc. v. Kemp, 347 F. Supp. 3d 1251, 1255–57 (N.D. Ga. 2018)

(addressing the “exact match” policy and registration processing).

      84.      The Secretary of State interprets and applies the statutory “match”

requirement in ways that unfairly and disproportionately prevent voters of color

from voting.

      85.      Specifically, the Secretary of State applies the statutory “match”

language in an unreasonably literal way—requiring an “exact” match of all

information no matter how insignificant that information is. As of 2018, under the

Secretary’s onerous “exact match” policy, voter registrations were rejected if the

mismatch consisted of insignificant typographical errors or other inconsequential

differences. For example, if the punctuation in voters’ last names on their voter

registration forms did not match their DDS files, those voters’ applications were

rejected—even if the problem originated entirely with the DDS system and not

with the voter.




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      86.    Shortly before the 2018 Election, the Secretary’s “exact match”

policy prevented 53,000 Georgians from having their registrations accepted.

      87.    The experience of Dr. Carlos del Rio, the chair of the Department of

Global Health Studies at the Rollins School of Public Health at Emory University,

illustrates this problem with the “exact match” policy. Dr. del Rio had correctly

written his last name as “del Rio” on his voter registration form; but because the

DDS system does not recognize spaces in last names, DDS incorrectly lists his last
                                                              10
name as “delRio” in its system and on his driver’s license. Dr. del Rio explained

to elections officials that their actions were illegal; and only after being forced to

navigate a lengthy process was he finally allowed to vote. Dr. del Rio reflected,

“While I was ultimately able to cast my vote, it was a frustrating experience and I

can only imagine the powerlessness that others less fortunate than I may have felt

as they attempted to exercise a fundamental American right.”



10
   Citizens of Latino descent are disproportionately likely to have two surnames
or a surname beginning with the preposition “de” or “del,” making them more
likely to print their name with a space. See Lotus D. Cirilo, Naming Conventions
of Spanish-Speaking Cultures,
http://lrc.salemstate.edu/hispanics/other/Naming_Conventions_of_Spanish-
Speaking_Cultures.htm (last visited Nov. 19, 2018).

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      88.    Dr. del Rio is right—other Georgians were powerless to vote when

they arrived at the polls due to the “exact match” policy. One poll worker reported

seeing at least six voters who were told they were not on voter rolls because their

names had hyphens, apostrophes, or spellings unfamiliar to poll workers.

      89.    The “exact match” policy disproportionately disenfranchises

recently naturalized U.S. citizens because the Secretary of State places new

citizens’ voter registration forms in pending status if those voters have not

informed DDS of the change to their citizenship. But whether a person is a

citizen is irrelevant to whether he or she can have a driver’s license. In effect, the

Secretary of State has denied new citizens the right to vote because they do not

update DDS with information it neither asks for nor needs.

      90.    This disenfranchisement of recently naturalized citizens

disproportionately affects people of color, too, both because many new citizens
                      11
are people of color        and because recently naturalized citizens may be more


11
   In 2016, 49 percent of new citizens in the United States were born in countries
in South America and Mexico, Asia, and the Caribbean. See Jie Zong, et al.,
Migration Policy Institute, Frequently Requested Statistics on Immigrants and
Immigration in the United States, (Feb. 8, 2018),


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likely to have state employees enter their names incorrectly if those names are

less familiar to those employees. As of 2018, of the Georgians whose applications

were pending for a citizenship mismatch, about a quarter were Asian American,

although only 2.1 percent of Georgia’s registered voter pool is Asian American;

and 17 percent were of Latino descent, although only 2.8 percent of Georgia’s

registered voter pool is of Latino descent. Ga. Coal., 347 F. Supp. 3d at 1263.

These percentages contrast with those for white voters; only 13.7 percent of

Georgians whose applications were pending for a citizenship mismatch were

white, even though more than half of Georgia’s registered voter pool is white. Id.

Because of this disparate impact on minority voters, a federal judge concluded

that new citizens whose voter registrations were placed in pending status had

demonstrated a substantial likelihood the State violated their constitutional rights.

Id.

       91.   Beyond the harm to recent citizens, the “exact match” policy has a

disparate impact on black voters. Of the voter registrations pending because of




https://www.migrationpolicy.org/article/frequently-requested-statistics-
immigrants-and-immigration-united-states#Naturalization.

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the policy before the 2018 Election, approximately 70 percent were for black

voters, even though only approximately a third of Georgia’s population is black.

      92.     The impact of the “use it or lose it” statute and “exact match” policy

can be seen in the record-breaking number of provisional ballots cast in the 2018

Election: over 21,000. This number is higher than the number of provisional

ballots cast in the 2016 presidential election even though overall turnout in 2018

was slightly lower than in 2016. This Court recently noted that “[c]omparing the

2018 election and the last non-presidential election in 2014, there has been a

statistically significant increase in the proportion of voters required to vote on

provisional ballots relative to the total vote.” Common Cause Ga., 347 F. Supp.

3d at 1293.

      93.     The Secretary of State’s adoption and application of the “exact

match” policy—as well as his other impediments to voter registration alleged

herein— disenfranchised, and will continue to disenfranchise, thousands of

Georgia voters, thereby violating their constitutional and other legal rights.




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      C.     Defendants Use Election Technology That Is Vulnerable to
             Hacking and Manipulation.

      94.    Georgia’s elections system, including its voter registration data,

lacks adequate data security. This insecurity presents a risk of hacking and

tampering that could cause voters to be removed from voter rolls. Georgia’s voter

registration data already has been breached twice. Defendants have had notice of

these problems but have done little to fix them.

      95.    The threat of hacking is not hypothetical. Georgia’s voter rolls were

breached in 2015, when 6 million voters had their personal information taken

from the State, and in 2017 when as many as 7.5 million voter records were

compromised. Special Counsel Robert Mueller indicted Russian military officers

for, among other things, exploring vulnerabilities in Georgia counties’ elections

systems in an effort to identify cybersecurity flaws.

      96.    The experience of many Georgia voters suggests significant

problems with the State’s voter registration data—whether because of a security

breach or Defendants’ failure to maintain adequately this essential database.

Many voters were told when they tried to vote that the voter registration rolls




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contained information different from the information the voters had supplied

when registering to vote.

      97.    Defendants even rejected federal funds and assistance for election

and voting security from the United States Department of Homeland Security.

      98.    By leaving Georgia’s registration database vulnerable to tampering,

Defendants place voters at risk of having their voter registrations removed or

changed.

      99.    The unnecessary and reckless security vulnerabilities alleged in this

Second Amended Complaint place a severe burden on the right to vote.

      100. Defendants failed to adequately secure the election system, making

it vulnerable to cyber-breaches or hacking that could undermine electors’

confidence in the outcome.

      D.     Defendants Promote Moving and Closing Precincts and Polling
             Places.
      101. The Secretary of State encourages precinct consolidation and polling

place closures. In 2015, then-Secretary Kemp issued a memorandum to local

elections boards outlining why polling place closures might be appropriate and

emphasizing that Shelby County v. Holder, 570 U.S. 529 (2013), removed the



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Voting Rights Act requirement that elections officials submit precinct or polling
                                                                    12
place changes to the U.S. Department of Justice for preclearance.

      102. Since preclearance requirements were lifted, Georgia has

consolidated and moved precincts and closed polling places in areas with high

proportions of voters of color. In just a few short years leading up to the 2018

Election, elections officials closed or moved more than 300 precincts. As a result,

approximately one-third of Georgia’s counties now have fewer polling places

than they had in 2012. Most of those counties have poverty rates higher than the

state average and almost half have populations that are over 25 percent black.

      103. In addition, precinct and polling place changes and closures left

voters without enough places to vote on Election Day in 2018, disproportionately

affecting low-income voters and voters of color. These polling place closures

unduly burdened Georgians’ right to vote.

      E.     The Secretary of State Maintains Inaccurate Voter Registration
             Rolls.




12
  Ga. Sec’y of State Elections Div., Manual on Precinct Closures (Feb. 2015),
https://drive.google.com/file/d/1xFw-DbVRcdFustzb_SJHziFrONtkpXL3/view

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      104. Georgia’s voter registration rolls, which are maintained by the

Secretary of State, are inaccurate, often foreclosing voters from exercising their

right to vote. Many Georgians who register to vote arrive at the polls and are told

they are not on the list of registered voters. One poll worker in the 2018 Election

explained to a poll watcher that voters should never expect to be on the rolls if

they registered near or on the deadline. “This,” the poll worker said, “is Georgia.”

      105. Issues with voter registration rolls affect voters across multiple

counties in Georgia and include: (i) family members who lived in the same house

and used the same address when they registered to vote being told they would

have to vote in different locations; (ii) Georgians who had registered to vote

being told that their names were not on the rolls; (iii) Georgians who had voted at

the same polling place for years being told their polling place had moved or that

they were no longer registered to vote; and (iv) Georgians who registered under

the Motor Voter Act not being on the rolls.

                   (ii)   Family Members With the Same Address Are Told to
                          Vote at Different Polling Places.

      106. Several voters and poll watchers have described family members

who live in the same house being directed to vote in different polling places. For



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example, a disabled veteran who relies on a service dog confirmed, weeks before

Election Day in 2018, that she and her husband were registered to vote. On

Election Day, she, accompanied by her service dog, husband, and eight-year-old

son, went to vote at Mill Creek Middle School. Her husband was allowed to vote

there. Although she had registered to vote using the same address as her husband,

she was told that she could not vote at that polling place because her address on

the voter rolls differed from the address she provided when she registered to vote.

Her address as shown on the voter rolls was an address she had never had.

Without her input or action, her registration data had changed.

      107. A poll watcher at the Liberty Elementary School in Cherokee

County was troubled by what happened when married couples arrived to vote. He

repeatedly saw instances when both spouses had changed their addresses through

DDS to reflect their current Cherokee County addresses. Even though the address

on their drivers’ licenses were correct, at least three couples learned that only one

spouse’s address had been correctly updated on the voter rolls, while the other

spouse’s address still showed as the couple’s former address. The poll workers




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directed the spouse with the unchanged address to go to the voting location for

the unchanged address.

      108. A poll worker who staffed the Express Poll machine in the

Coralwood Precinct in DeKalb County said a couple arrived together and

displayed identification showing they resided at the same address. But the voter

registration rolls stated that they were registered to vote in two different

precincts. Because the voter registration rolls showed the couple as having

different voting precincts from each other, the poll worker has concerns about the

integrity of the voting records and whether they had been tampered with.

                    (iii)   Georgians Who Registered to Vote Shortly Before the
                            Deadline Are Not on the Voter Rolls.

      109. Many Georgians register to vote before the registration deadline but

learn on Election Day that they are not on the rolls of registered voters. Even

worse, poll workers do not offer many of these voters provisional ballots.

      110. For example, Tyra Bates is a Gwinnett County resident who

registered to vote online in early October 2018. She received a reference number

and even took a screenshot of the confirmation page after she completed the

registration process. When she arrived at her polling place, however, an elections



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official told her she was not registered. She was not allowed to cast a provisional

ballot.

                      (iv)   Voter Registration Roll Information for Voters Who
                             Had Voted at the Same Polling Place for Years is
                             Inaccurate.

          111. Elections officials told many voters during the 2018 Election they

were at the wrong polling place even though they had voted at that polling place

for years and had not moved. Some of those voters were directed to vote at

another location. Others were given provisional ballots. Of those voters given

provisional ballots, many were not given the instructions required under Georgia

law about how to cure any deficiencies in their voter registrations and how to

learn whether their votes were counted.

          112. For example, Jim Peterson, an attorney who lives in DeKalb County,

went to his polling place at Mary Lin Elementary School on Election Day in 2018.

Mr. Peterson’s registration information showed that his precinct was in Fulton

County’s Morningside neighborhood even though he had not lived in

Morningside since 1993. Poll workers gave him a provisional ballot, which he

cast. Although the poll workers were required under Georgia law to provide him

“written information” about how “to ascertain if his . . . ballot was counted and, if


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such ballot was not counted, the reason why such ballot was not counted,”

O.C.G.A. § 21-2-418(f), he was not given that information. Instead, a poll worker

assured him his vote would be counted. The poll worker was not correct. Georgia

law does not allow voters to vote in a county other than where they are registered.

                    (v)     Georgians Who Registered to Vote Pursuant to the
                            Motor Voter Act Are Not on the Voter Rolls.

      113. Under the Motor Voter Act, Georgia must provide its voters with the

opportunity to register to vote at the same time they apply for a driver’s license.

52 U.S.C. § 20504. But Georgians who registered to vote under the Motor Voter

Act discovered on Election Day that they were not on the voter rolls. Voters and

poll watchers reported this occurring in many counties, including Athens-Clarke,

Carroll, Cobb, DeKalb, Fulton, and Gwinnett.

      F.     The Secretary of State Does Not Provide Adequate Resources to
             Polling Places.

      114. The Secretary of State fails to provide enough voting machines to

counties, provides voting machines that do not work, and fails to advise counties

on sufficient numbers of ballots, provisional ballots, and other supplies to meet

turnout expectations. These problems were acute in the 2018 Election despite the

anticipated high turnout.


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         115. Despite express warnings from the Democratic Party of Georgia

about anticipated turnout, counties did not print enough ballots and some polling

places ran out of provisional ballots. Other polling places lacked enough voting

machines to accommodate the expected demand. As CNN reported, thousands of
                                                                    13
voters waited at polling places with only three voting machines. As a result,

voters faced unreasonably long lines—as long as four hours in some places. Many

voters came to vote, saw the long lines, and left without voting.

         116. For example, one polling place in Snellville, Gwinnett County, had

no power cords for the voting machines at the start of Election Day in 2018,

requiring its machines to operate on battery power. The batteries died in under an

hour.

         117. Pittman Recreational Center, a polling place in Atlanta, started

Election Day in 2018 with only three operational voting machines. While more

machines were provided during the day, those newly-installed machines lacked

the equipment necessary to operate them. Wait times ranged from two to four


13
  Van Jones, Don’t Let Brian Kemp Steal Georgia’s Gubernatorial Election,
CNN (Nov. 9, 2018), https://www.cnn.com/2018/11/09/opinions/dont-let-brian-
kemp-steal-georgias-gubernatorial-election-van-jones/index.html.

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hours, causing people to leave without voting. One voter went to Pittman three

times but could not vote because of the hours-long wait. In addition, Pittman

closed for 30 minutes at 7:00 p.m., violating a court order to stay open until 9:00

p.m. While Pittman was closed, many voters left without voting.

      118. Similarly, at a Gwinnett County polling place, the voting machines

malfunctioned shortly after the polls opened. These malfunctioning machines

created long lines that prompted voters to leave without voting.

      119. A number of busy polling places lacked an adequate number of the

machines to verify a voter’s registration or had machines that malfunctioned.

This lack of equipment contributed to the inability of Georgians to exercise their

right to vote because the check-in bottlenecks led to unreasonably long lines.

      120. The problems with voting machines were compounded when polling

places did not have enough provisional ballots. Provisional ballots are used when

an elections official cannot determine whether a voter is eligible to vote.

      121. Because of the problems with inoperable machines, the inaccurate

voter registration list, the “exact match” policy and “use it or lose it” statute and

its enforcement, provisional ballots were in high demand and many polling places




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ran out of them. Once a polling place runs out of provisional ballots, voters at

that polling place, who would otherwise cast a provisional ballot, lose the right to

vote.

         122. The Secretary of State knew that the “use it or lose it” purge and the

“exact match” policy would increase the need for provisional ballots. The

Democratic Party had warned the Secretary of State that voter turnout would be

high, a warning reinforced by the high voter turnout during early voting. Despite

knowing that counties needed to have a large number of provisional ballots,

Defendants did nothing leading up to the 2018 Election to let the counties know

they would need more provisional ballots or to supply the counties with an

adequate number of these ballots.

         123. Many of the voters who had to wait in long lines to vote in the 2018

Election were voters of color. On information and belief, polling locations in

areas with large numbers of voters of color had disproportionately fewer

resources, such as adequate numbers of voting machines or ballots, creating the

hours-long waits that deterred many Georgians from voting. Moreover, the

increased need for provisional ballots came, in part, from the “exact match”




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policy and “use it or lose it” statute, which disproportionately affected voters of

color.

         124. Defendants have a duty to oversee the election, train county officials

to staff polling places adequately, and issue guidance to the counties to protect

every Georgians’ right to vote. Defendants have a duty to prevent Georgians’

right to vote from being unduly burdened. Defendants have not fulfilled these

duties.

         G.    Defendants Inadequately Oversee and Train Elections Officials
               on Provisional Ballots.

         125. The State Election Board, chaired by the Secretary of State, is

responsible for enforcing uniform rules for election administration. O.C.G.A. §

21-2-31(1). The Secretary of State is also responsible for training county

elections officials, including registrars and superintendents, on the law governing

state elections. O.C.G.A. § 21-2-50(a)(11).

         126. Defendants did not and do not satisfy these obligations, as

demonstrated in the 2018 Election; throughout the State, elections officials

misunderstand their duties and ignore the law.




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      127. At a Gwinnett County precinct, for example, voters were properly

given provisional ballot forms after a voting machine malfunctioned, but voters

were misinformed about how those ballots would be handled. Those ballots

should have been counted as regular ballots. See O.C.G.A. § 21-2-418(h) (stating

that “in the event that the voting machines or DRE units at a polling place

malfunction and cannot be used to cast ballots . . . provisional ballots may be

used by the electors at the polling place to cast their ballots. In such event, the

ballots cast by electors whose names appear on the electors list for such polling

place shall not be considered provisional ballots[]”) (emphasis added). Instead of

treating those ballots like regular ballots, elections officials added a cover page to

the ballots that incorrectly told voters that the county election office would treat

those ballots as provisional and decide later whether they would be counted.

County officials later admitted that at least 50 people left the polling place

without voting because they believed elections officials were requiring them to

vote by provisional ballot.

      128. Elections officials also give the wrong instructions to voters who

show up at the wrong polling place. A poll worker must offer a provisional ballot




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to any voter who appears at the wrong polling place but who is registered to vote

in that county. That way, voters need not go elsewhere to vote. Yet at some

polling locations, poll workers did not provide those voters with provisional

ballots and instead told them they had to go to another polling place if they

wanted to vote. At least one unfortunate voter was sent from one polling place to

another, and then to a third. Even when voters knew to ask for a provisional
                                              14
ballot, they sometimes were not given one.

      129. Elections officials fail to offer provisional ballots to people in this

situation, too. For example, when Kia Marlene Carter tried to vote at Shiloh

Education Center in Henry County, she was told by the poll worker who scanned

her identification card that the information on file for her showed that she was not

a United States citizen. Ms. Carter was born in Virginia, had voted in Georgia

during the past 18 years, and never before had her citizenship questioned when




14
  As this District explained in another case: “[T]here was evidence that voters
were sometimes refused provisional ballots or if provided provisional ballots,
sometimes had to return to the polls to insist on this.” Common Cause Ga. v.
Kemp, 347 F. Supp. 3d 1270, 1294 (N.D. Ga. 2018).

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she voted. In the 2018 Election, however, county officials did not allow Ms.

Carter to vote and did not offer her a provisional ballot.

      130. Moreover, some precincts follow rules that conflict with the law.

According to the poll watcher at Rothschild Middle School in Muscogee County,

the poll manager explained that provisional ballots were allowed only for people

arriving at the polls near closing time. The poll workers at that location would not

distribute provisional ballots in the morning because the poll manager thought it

was not late enough in the day. The Secretary’s statutorily-mandated training

program failed voters at this polling place and many voters were denied their

right to cast a provisional ballot.

      131. These inconsistent and arbitrary local rules on provisional ballots

that differ from county to county violate Georgians’ right to the equal opportunity

to vote.

      132. Defendants know that many Georgia voters cast provisional ballots

and that the “use it or lose it” statute, the “exact match” policy, and the other

elections systems problems identified in this Second Amended Complaint will

cause many more voters to cast provisional ballots. Nonetheless, Defendants fail




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to train county elections officials adequately on the use of provisional ballots,

despite knowing that this training is necessary. Defendants’ failure to train county

elections officials adequately has imposed, and will continue to impose, a severe

burden on the right to vote and reflects the Defendants’ deliberate indifference

and willful blindness to the constitutional rights of Georgians.

      H.     Defendants Inadequately Oversee Absentee Ballots and
             Inadequately Train and Advise Elections Officials about Them.

      133. Defendants also fail to oversee, train, and advise counties about the

proper handling of absentee ballots. Georgia law permits voters to vote by

absentee ballot without needing a reason to do so. Georgia law requires county

elections officials who receive a request for an absentee ballot to determine

whether the voter who requested the ballot is eligible to vote and, if he or she is,

immediately mail the voter a ballot. See O.C.G.A. § 21-2-381. The voter can

either return the completed absentee ballot by mail or by hand-delivery, or cancel

the absentee ballot and vote in person during early voting or on Election Day.

      134. At least 283,839 voters tried to vote by absentee ballot in the 2018

Election. Many ran into hurdles that prevented them from voting absentee, or

from voting at all.



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      135. Elections officials fail to mail absentee ballots to voters in a timely

manner, violating Georgia law. For example, despite receiving timely absentee

ballot requests, Dougherty County was still mailing ballots on October 29, 2018,
                              15
just days before the election. Because of this delay, many Dougherty County

residents—67 percent of whom are black—could not vote absentee. Moreover,

thousands of absentee ballots were mailed out three weeks or more after absentee

ballot requests were received by county elections officials.

      136. In 2018, elections officials also rejected absentee ballots for

improper reasons. It is illegal for an elections official to reject an absentee ballot

because of a minor error or omission that is not material to whether a voter can

vote. See 52 U.S.C. § 10101(a)(2)(B). Because counties must verify voter

eligibility before sending an absentee ballot, errors on the absentee ballots

themselves are immaterial as the county can still determine the identity of the


15
  Dougherty County admitted during a proceeding in the United States District
Court for the Middle District of Georgia that it had mailed ballots as late as
Monday or Tuesday the week before election day, and evidence presented at that
hearing showed both that mail routing in Dougherty County is unusually slow
due to the closure of a distribution facility and that at least one outgoing ballot
had not been postmarked until the day before election day. Democratic Party of
Ga. v. Burkes, No. 1:18-CV-00212 (M.D. Ga. Nov. 8, 2018).

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voter. Yet in the 2018 Election, elections officials rejected absentee ballots for

irrelevant mistakes.

      137. For example, absentee ballots requested Georgia voters’ birthdates.

On some absentee ballots, the line that asked for that information just said

“Date,” without specifying that the date being requested was the voter’s

birthdate. Because of this lack of specificity, many voters reasonably wrote the

date they completed the ballot instead of their birthdate. Their ballots were

rejected.

      138. Under intense criticism for allowing counties to reject these ballots,

the Secretary of State took the unusual step, after the election, of issuing an

Election Bulletin stating that elections officials would not violate state law if they

accepted absentee ballots with immaterial discrepancies. The Election Bulletin,

however, did not explain that this is not discretionary; elections officials are

legally required to accept such ballots. And although the Election Bulletin quotes

a Georgia Attorney General opinion, the Bulletin does not quote the Attorney

General’s conclusion that rejecting such ballots would violate federal law.




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      139. Two judges from the United States District Court for the Northern

District of Georgia remedied some of these problems, requiring first Gwinnett,

and then other counties, to accept absentee ballots missing voters’ birth years.

Martin v. Crittenden, 347 F. Supp. 3d 1302, 1311 (N.D. Ga. 2018); Democratic

Party of Ga. v. Crittenden, 347 F. Supp. 3d 1324, 1340–41 (N.D. Ga. 2018). The

granted relief, however, did not address voters disenfranchised if their absentee

ballots contained other minor errors immaterial to verifying their identity.

      140. Exacerbating the effect of these errors, some counties fail to promptly

notify many Georgians that their absentee ballots have been rejected. Georgia law

requires elections officials to “promptly notify the elector” if the elector’s absentee

ballot is rejected. O.C.G.A. § 21-2-386(a)(1)(C). Because absentee ballots are

submitted before Election Day, this prompt—and legally required—notification

gives the voter whose ballot was rejected time to fix the error. The Secretary of

State maintains a website that, in theory, tells voters whether their absentee ballot

has been rejected and indicates which errors need to be fixed. But this system fails,

too. Some voters who learned from the website before the 2018 Election that their




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absentee ballots had been received and “approved” (i.e., that their absentee votes

would count) learned later that their ballots did not count after all.

      141. Some voters who hand-deliver their absentee ballots are also given

false information about whether their votes will be counted. One seventy-two-

year-old voter, for example, hand-delivered his absentee ballot and an elections

official told him there was nothing else he needed to do to ensure his vote would

count. But after the 2018 Election, he learned that his absentee ballot was not

counted because it was missing his birth year.

      142. Elections officials also fail to permit voters to cancel absentee ballots

and vote in person. Georgia law is clear: voters who have requested an absentee

ballot can cancel that ballot and vote in person either by surrendering the

absentee ballot or by requesting in writing that the envelope containing the

absentee ballot be marked “cancelled.” O.C.G.A. § 21-2-388. Yet many voters

encountered poll workers who would not allow them to cancel their absentee

ballots and vote in person. Even voters who had applied for but never received

absentee ballots were told they could not cancel their absentee ballots.




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      143. These problems with absentee ballots have a disproportionate impact

on voters of color. In Gwinnett County, where over 60 percent of residents are

Latino, African American, or Asian American, elections officials rejected

approximately eight and a half percent of all absentee ballots received by October

15, 2018. This rejection rate was more than three times the statewide average.

      144. In Chatham County, a county with a higher African American

population than the state average, some completed ballots mailed by voters were

returned to those voters as undeliverable, even though the ballots were mailed in

an envelope supplied by the county and containing a pre-printed delivery address.

These validly-cast ballots were not counted, and the voters could not resend the

ballots in time to be counted.

      145. The United States District Court for the Middle District of Georgia

remedied some of these problems. The Court found that Dougherty County

violated voters’ constitutional rights by failing to mail absentee ballots on time

and ordered that some ballots received by voters and mailed back by Election

Day be counted. Democratic Party of Ga. v. Burkes, No. 1:18-CV-00212-WLS,

Consent Order and Court Order at 3 (M.D. Ga. Nov. 9, 2018), ECF No. 5. But the




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relief provided only applied to the 2018 Election, leaving future voters vulnerable

to the same misconduct. In addition, the Court could not grant relief to voters

who never received their absentee ballots at all, or received them so close to

Election Day that the voters reasonably concluded it would be futile to mail them

back. Voters who requested an absentee ballot because they could not get to the

polls (e.g., voters who were elderly, disabled, or out of state on Election Day)

were simply denied a vote.

         146. The inconsistent and arbitrary local rules on absentee ballots that

differ from county to county violate Georgians’ right to the equal opportunity to

vote.

         147. Defendants know that many voters cast absentee ballots. Defendants

also knew that the 2018 Election would have particularly high turnout.

Nonetheless, Defendants failed to train county elections officials adequately on

the use of absentee ballots, despite knowing that this training was necessary.

Defendants’ failure to train county elections officials adequately imposes, and

will continue to impose, a severe burden on the right to vote and reflects the




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Defendants’ deliberate indifference and willful blindness to the constitutional

rights of Georgians.

       148. The serious and pervasive problems in Georgia’s elections system

are not an accident. Defendants know that voter disenfranchisement is likely from

their conduct, and further know that the effect of any voter suppression is likely

to fall disproportionately on Georgia’s racial and ethnic minorities. Defendants’

intent and motivation are to create this anticipated and foreseeable racially

discriminatory effect through their policies, actions, and inaction.

       149. As shown in the 2018 Election, Georgia citizens try to exercise their

constitutional rights but are denied the ability to elect their leaders because of an

unconstitutional elections process. The problems plaguing Georgia’s elections

process are chronic, systemic, and pervasive. Defendants’ failed policies and

limited-to-no oversight disenfranchises or severely burdens untold numbers of

voters. Absent judicial intervention, future elections in Georgia will be no

different.


                             CLAIMS FOR RELIEF

                                       Count I



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    Violation of the Fundamental Right to Vote (First and Fourteenth
   Amendments to the U.S. Constitution, as enforced by 42 U.S.C. § 1983)

      150. Plaintiffs hereby incorporate by reference paragraphs 1 through 157.

      151. Section 1 of the Fourteenth Amendment to the United States

Constitution prohibits states from “depriv[ing] any person of . . . liberty . . .

without due process of law.” This due process principle protects the fundamental

right to vote. If a state imposes a severe burden on the right to vote, that burden

must be narrowly drawn to advance a state interest of compelling importance. See

Anderson v. Celebrezze, 460 U.S. 780 (1983); Burdick v. Takushi, 504 U.S. 428

(1992).

      152. The First Amendment prohibits a state from interfering with “the

freedom of speech” or the right “to petition the Government for a redress of

grievances.” Freedom of speech includes the right to send political messages by

voting as well as by not voting.

      153. Under 42 U.S.C. § 1983, every person acting under color of state

law who deprives any other person of his or her constitutional rights is liable at

law and in equity.




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      154. Defendants must protect the integrity of elections in Georgia, see

O.C.G.A. §§ 21-2-31, 21-2-50, including by enforcing all laws and policies and

overseeing elections entities in a manner that does not severely burden the right

to vote.

      155. Voters in Georgia have a liberty interest in their fundamental right to

vote. Defendants acted to deprive voters of this right through the following

misconduct and severe burdens on the right: (a) failing to furnish counties and

precincts with sufficient tools for voting; (b) failing to train adequately county

elections officials on laws governing elections; (c) failing to maintain an accurate

and secure voter registration list; and (d) removing and preventing voter

registrations under the “use it or lose it” statute and “exact match” policy. The

foreseeable, cumulative effects of these actions have been to disenfranchise

Georgia voters or severely burden their right to vote. Unless this Court grants the

relief requested by Plaintiffs in this Second Amended Complaint, Georgia voters

will continue to be disenfranchised or their voting rights severely burdened.

      156. Defendants further disenfranchised Georgia voters and deprived them

of their right to vote through the following specific misconduct in training and




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overseeing county elections officials, imposing severe burdens on the right to

vote: (a) failing to provide absentee ballots requested by voters; (b) delivering

requested absentee ballots to voters after the deadline for casting the ballots had

passed; (c) providing requested absentee ballots that were undeliverable to the

appropriate recipient; (d) refusing to accept delivery of absentee ballots; (e)

refusing to provide provisional ballots; (f) discouraging and preventing the use of

provisional ballots; (g) providing an insufficient number of provisional ballots to

precincts; (h) creating conditions that produced unreasonably and avoidably long

waits to vote at polling places; (i) providing an insufficient number of voting

machines to polling places; and (j) failing to provide an adequate number of paper

ballots to polling places. The foreseeable, cumulative effects of these actions have

been to disenfranchise Georgia voters or severely burden their right to vote.

Unless this Court grants the relief requested by Plaintiffs in this Second Amended

Complaint, Georgia voters will continue to be disenfranchised and their voting

rights severely burdened.




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      157. Due to Defendants’ misconduct, voters in Georgia have suffered and

will continue to suffer irreparable harm—including disenfranchisement and severe

burdens on the right to vote in any and all elections and disenfranchisement.

      158. Defendants did not narrowly draw the laws and policies at issue and

have no compelling or substantial interest to justify the severe burdens on

fundamental voting rights imposed by their misconduct.

      159. Unless enjoined from doing so, Defendants will continue to violate

Georgians’ First and Fourteenth Amendment rights and inflict injuries for which

voters have no adequate remedy at law.

      160. Plaintiffs are entitled to injunctive and declaratory relief to remedy

these unconstitutional violations of Georgians’ fundamental right to vote.


                                      Count II

    Violation of the Ban on Racial Discrimination in Voting (Fifteenth
   Amendment to the U.S. Constitution, as enforced by 42 U.S.C. § 1983)
      161. Plaintiffs hereby incorporate by reference paragraphs 1 through 157.

      162. Section 1 of the Fifteenth Amendment to the United States

Constitution prohibits states from abridging the “right of citizens of the United

States to vote . . . on account of race, color, or previous condition of servitude.”


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       163. Under 42 U.S.C. § 1983, every person acting under color of state

law who deprives any other person of his or her constitutional rights is also liable

at law and in equity.

       164. Defendants must protect the integrity of elections in Georgia, see

O.C.G.A. §§ 21-2-31, 21-2-50, including by enforcing all laws and policies and

overseeing elections entities in a manner that does not discriminate against any

Georgians based on race or color.

       165. The Fifteenth Amendment “bans racial discrimination in voting by

both state and nation.” Terry v. Adams, 345 U.S. 461, 467 (1953). The Fifteenth

Amendment is “obviously applicable” to the rights of people of color “not to be

discriminated against as voters in elections to determine public governmental

policies . . . .” Id.

       166. Voters who are members of racial minority groups have a right under

the Fifteenth Amendment to participate in elections on an equal basis with voters

who are not members of racial minority groups.

       167. Acting under color of state law, Defendants deprived Georgians of

the right to vote—as secured by the Fifteenth Amendment—by administering an




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election plagued with irregularities that disproportionately affected voters of color.

Defendants acted to deprive voters of this right through the following misconduct

that fell disproportionately on voters of color: (a) failing to furnish counties and

precincts with sufficient tools for voting; (b) failing to train adequately county

elections officials on laws governing elections; (c) failing to maintain an accurate

and secure voter registration list; (d) removing and preventing voter registrations

under the “exact match” policy; and (e) purging voters from voter registration

rolls under the “use it or lose it” statute. This misconduct will continue to

disenfranchise Georgia voters or burden their right to vote unless enjoined and

abated.

      168. Defendants further acted to deprive voters of color of their

fundamental right to vote through the following specific misconduct in

overseeing and training of county elections officials, which fell

disproportionately on voters of color: (a) failing to have enough precincts, voting

machines, and provisional ballots for the assigned voters to be able to vote; (b)

failing to timely send absentee ballots; (c) failing to count the absentee ballots

cast in accordance with law; (d) causing registered, eligible voters to vote




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provisionally because of long poll lines; and (e) implementing the “exact match”

policy for determining whether voters are registered at the polls. This misconduct

will continue to disenfranchise Georgia voters or burden their right to vote unless

enjoined and abated.

      169. The severe burdens Defendants imposed on racial minority voters’

fundamental right to vote are not outweighed or justified by, or necessary to

promote, a compelling state interest that cannot be accomplished by other less

restrictive means.

      170. Defendants’ misconduct irreparably harmed voters of color in

Georgia by imposing severe burdens on their right to vote, sometimes resulting in

complete disenfranchisement.

      171. In acting as they did, Defendants intended, at least in part, to

suppress the number of votes cast by persons of color. State action intended, at

least in part, to discriminate on the basis of race in the voting context violates the

Fifteenth Amendment.




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      172. Unless enjoined from doing so, Defendants will continue to violate

Georgians’ Fifteenth Amendment rights and inflict injuries for which voters have

no adequate remedy at law.

      173. Plaintiffs are entitled to injunctive and declaratory relief to remedy

these unconstitutional violations of Georgians’ fundamental right to vote.


                                     Count III

      Violation of Equal Protection (Fourteenth Amendment to the U.S.
                Constitution, as enforced by 42 U.S.C. § 1983)

      174. Plaintiffs hereby incorporate by reference paragraphs 1 through 157.

      175. Section 1 of the Fourteenth Amendment to the United States

Constitution prohibits states from depriving “any person within its jurisdiction

the equal protection of the laws.”

      176. Under 42 U.S.C. § 1983, every person acting under color of state

law who deprives any other person of his or her constitutional rights is also liable

at law and in equity.

      177. Defendants must protect the integrity of elections in Georgia, see

O.C.G.A. §§ 21-2-31, 21-2-50, including by enforcing all laws and policies and




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overseeing elections entities in a manner that provides equal protection to all

Georgians.

      178. Under the Equal Protection Clause of the Fourteenth Amendment,

citizens have “a constitutionally protected right to participate in elections on an

equal basis with other citizens in the jurisdiction.” Dunn v. Blumstein, 405 U.S.

330, 336 (1972). Thus, “state actions in election processes must not result in

‘arbitrary and disparate treatment’” of voters. Hunter v. Hamilton Cty. Bd. of

Elections, 635 F.3d 219, 234 (6th Cir. 2011) (quoting Bush v. Gore, 531 U.S. 98,

104–05 (2000)).

      179. Voters who are members of racial minority groups have a

constitutionally protected right under the Equal Protection Clause of the

Fourteenth Amendment to participate in elections on an equal basis with voters

who are not members of racial minority groups.

      180. Before and during the 2018 Election, Defendants treated voters who

are members of racial minority groups differently from similarly situated voters

who are not members of racial minority groups.




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      181. Acting under color of state law, Defendants deprived Georgians of

the right to vote on an equal basis, as secured by the Equal Protection Clause, by

administering an election plagued with irregularities that disproportionately

affected voters of color. Defendants acted to deprive voters of this right through

the following misconduct that fell disproportionately on voters of color: (a)

failing to furnish counties and precincts with sufficient tools for voting; (b)

failing to train adequately county elections officials on laws governing elections;

(c) failing to maintain an accurate and secure voter registration list; (d) removing

and preventing voter registrations under the “exact match” policy; and (e)

purging voters from voter registration rolls under the “use it or lose it” statute.

This misconduct will continue to disenfranchise Georgia voters or burden their

right to vote unless enjoined and abated.

      182. Defendants further acted to deprive voters of color of their

fundamental right to vote through the following specific misconduct in

overseeing and training of county elections officials, which fell

disproportionately on voters of color: (a) failing to have enough precincts, voting

machines, and provisional ballots for the assigned voters to be able to vote; (b)




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failing to timely send absentee ballots; (c) failing to count the absentee ballots

cast in accordance with law; (d) causing registered, eligible voters to vote

provisionally because of long poll lines; and (e) implementing the “exact match”

policy for determining whether voters are registered at the polls. This misconduct

will continue to disenfranchise Georgia voters or burden their right to vote unless

enjoined and abated.

      183. The differential treatment of voters who are members of racial

minority groups compared to the treatment of similarly-situated voters who are

not members of racial minority groups imposed severe burdens on the

fundamental right to vote of the former group.

      184. The severe burdens Defendants imposed on racial minority voters’

fundamental right to vote is not outweighed or justified by, or necessary to

promote, a compelling state interest that cannot be accomplished by other less

restrictive means.

      185. Defendants’ misconduct irreparably harmed voters of color in

Georgia by imposing severe burdens on their right to vote, sometimes resulting in

complete disenfranchisement. In acting as they did, Defendants intended, at least




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in part, to suppress the number of votes cast by persons of color. State action

intended, at least in part, to discriminate on the basis of race in the voting context

violates the Fourteenth Amendment.

      186. Georgia’s voting system also violates Equal Protection because

voters are subject to arbitrary and inconsistent differences in rules, processes, and

burdens depending on where voters happen to reside.

      187. Having different standards for administering elections or for

counting ballots in different counties violates the Equal Protection Clause. As the

Supreme Court has recognized, “[t]he idea that one group can be granted greater

voting strength than another is hostile to the one man, one vote basis of our

representative government.” Bush, 531 U.S. at 107 (internal quotation marks

omitted). Defendants facilitated and permitted different elections systems in

different counties in Georgia, and will continue to do so.

      188. Abdicating their responsibilities under state law, Defendants have

allowed the voting processes in the 159 counties in Georgia to devolve into an

arbitrary and inconsistent web of actual laws, erroneous interpretations of laws,




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and local rules that are often unannounced until applied to a voter. These

inconsistent, non-uniform rules subject voters to unequal voting strength.

      189. Defendants also knowingly permit wide variations among

jurisdictions in the allocation of resources, such as ballots and voting machines,

and in the training of election personnel.

      190. The cumulative effect of these geographic variations is that the

likelihood of being disenfranchised was and is substantially—and arbitrarily—

determined by the county in which a voter lives.

      191. Unless enjoined from doing so, Defendants will continue to violate

Georgians’ Fourteenth Amendment rights and inflict injuries for which voters

have no adequate remedy at law.

      192. Plaintiffs are entitled to injunctive and declaratory relief to remedy

these unconstitutional violations of Georgians’ fundamental right to vote.


                                     Count IV

  Violation of Procedural Due Process (Fourteenth Amendment to the U.S.
                Constitution, as enforced by 42 U.S.C. § 1983)

      193. Plaintiffs hereby incorporate by reference paragraphs 1 through 157.




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       194. Section 1 of the Fourteenth Amendment to the United States

Constitution prohibits states from “depriv[ing] any person of . . . liberty . . .

without due process of law.” This due process principle protects the fundamental

right to vote.

       195. Under 42 U.S.C. § 1983, every person acting under color of state

law who deprives any other person of his or her constitutional rights is also liable

at law and in equity.

       196. Defendants must protect the integrity of elections held in Georgia,

see O.C.G.A. §§ 21-2-31, 21-2-50, including by enforcing all laws and policies

and overseeing elections entities in a manner that complies with the constitutional

requirements of procedural due process.

       197. The Secretary of State, acting under color of state law, is

administering an election process that Plaintiffs estimate deprives hundreds of

thousands of voters in Georgia of their liberty interest in voting by purging their

already existing voter registrations under the State’s “use it or lose it” statute

without constitutionally adequate pre- and post-deprivation process. Georgia’s

“use it or lose it” statute, and its enforcement by the Secretary of State, fails to




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provide sufficient and meaningful notice of actions and decisions affecting voters’

registration status and its effect on casting and counting of ballots and fails to

provide adequate or timely process for Georgia citizens to challenge such actions

and decisions. These failures create an unreasonably high risk that Georgians will

be erroneously denied the right to vote. The “use it or lose it” statute has

frustrated, and will continue to frustrate, Plaintiffs’ efforts to ensure that

registered voters are able to vote and have their votes counted, and thereby

violates voters’ right to procedural Due Process under the Fourteenth

Amendment to the U.S. Constitution.

      198. As a result, voters in Georgia have suffered and will continue to

suffer irreparable harm—including disenfranchisement.

      199. Unless enjoined from doing so, the Secretary of State will continue

to enforce the “use it or lose it” statute and will continue to violate Georgians’

Fourteenth Amendment rights and inflict injuries for which voters have no

adequate remedy at law.

      200. Plaintiffs are entitled to injunctive and declaratory relief to remedy

these unconstitutional violations of Georgians’ fundamental right to vote.




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                                       Count V

             Violation of Section 2 of the Voting Rights Act of 1965

      201. Plaintiffs hereby incorporate by reference paragraphs 1 through 157.

      202. Section 2 of the Voting Rights Act, 52 U.S.C. § 10301(a), prohibits

any “standard, practice, or procedure” that “results in a denial or abridgement of

the right of any citizen of the United States to vote on account of race or color[.]”

A violation of Section 2 is established, inter alia, if it is shown that “the political

processes leading to nomination or election” in the jurisdiction “are not equally

open to participation by” citizens in a protected class in that they “have less

opportunity than other members of the electorate to participate in the political

process and to elect representatives of their choice.” Id. § 10301(b).

      203. Defendants must protect the integrity of elections held in Georgia, see

O.C.G.A. §§ 21-2-31, 21-2-50, including by enforcing all laws and policies and

overseeing elections entities in a manner that complies with the Voting Rights Act.

      204. The totality of the circumstances alleged herein establishes that the

Defendants’ administration of the election denied voters of color an equal

opportunity to participate in the political process and to elect representatives of

their choice by denying their right to vote, in violation of Section 2 of the Voting


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Rights Act, 52 U.S.C. § 10301. This deprivation of the right to vote based on

status as a member of a racial minority group has caused and will continue to

cause irreparable harm—including disenfranchisement.

       205. Defendants violated Section 2 of the Voting Rights Act through the

following misconduct that fell disproportionately on voters of color: (a) failing to

furnish sufficient tools for voting to counties and precincts; (b) failing to train

adequately county elections officials on laws governing elections; (c) failing to

maintain an accurate and secure voter registration list; (d) removing and

preventing voter registrations under the “exact match” policy; and (e) purging

voters from voter registration rolls under the “use it or lose it” statute.

       206. Defendants further violated Section 2 of the Voting Rights Act

through the following specific misconduct in oversight and training of county

elections officials, which disproportionately affected voters of color: (a) failing to

have enough precincts, voting machines, and provisional ballots for the assigned

voters to vote; (b) failing to timely send absentee ballots; (c) failing to count the

absentee ballots cast in accordance with law; (d) causing registered, eligible




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voters to vote provisionally because of long poll lines; and (e) implementing the

“exact match” policy for determining whether voters are registered at the polls.

      207. Historical, socioeconomic, and other electoral conditions in Georgia

combined with Defendants’ misconduct to prevent Georgians of color from

having an equal opportunity to register and vote. See Thornburg v. Gingles, 478

U.S. 30 (1986).

      208. Georgia has a long history of official discrimination that excludes

people of color—and particularly African Americans—from participating in

democratic processes.

      209. Georgia’s history of state-sanctioned race discrimination is so

familiar that courts have taken judicial notice of it. See, e.g., Brooks v. State Bd.

of Elections, 848 F. Supp. 1548, 1560 (S.D. Ga. 1994) (“[T]he history of the

state[‘s] segregation practice and laws at all levels has been rehashed so many

times that the Court can all but take judicial notice thereof.”). As the Southern

District of Georgia explained in Brooks, “Georgia has a history chocked full of

racial discrimination at all levels. This discrimination was ratified into state

constitutions, enacted into state statutes, and promulgated in state policy.




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Racism and race discrimination were apparent and conspicuous realities, the

norm rather than the exception.” Id.

      210. Indeed, Georgia received more than 170 preclearance objection letters

from the U.S. Department of Justice under Section 5 of the Voting Rights Act.
                                                       16
      211. In 2015, the Electoral Integrity Project ranked Georgia as the

eighth worst state in the nation for electoral integrity.

      212. Further, voting in Georgia elections is racially polarized on the state,

county, and local levels. See, e.g., Georgia State Conference of NAACP v. Fayette

Cty. Bd. of Comm’rs, 950 F. Supp. 2d 1294, 1314 (N.D. Ga. 2013), aff’d in part,

vacated in part, rev’d in part on other grounds, 775 F.3d 1336 (11th Cir. 2015).

      213. Georgia’s people of color bear the effects of discrimination in areas

such as education, employment, and health that hinder their ability to participate

effectively in the political process. The Georgia Department of Community

Health reports that people of color have worse health status and more chronic



16
  The Electoral Integrity Project is an independent academic project based at
Harvard University and the University of Sydney. Its focus is on evaluating the
integrity of elections around the world. See
https://www.electoralintegrityproject.com (last visited Nov. 26, 2018).

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health conditions than whites. In 2016, the infant mortality rate for African

Americans in Georgia was more than double than that of whites. The Economic

Policy Institute reported the 2018 unemployment rate in Georgia for African

Americans was 2.6 times higher than that for whites. And for the 2015–2016

school year in Georgia, the gap between high school graduation rates for African

American and white students was 7 percentage points. Further, in Atlanta, Cobb,

DeKalb, and Gwinnett school districts, in the 2012–2013 school year, the

graduation rate for white males was 20 percentage points higher than for African

American males.

      214. Georgia has a history of voting practices that enhance the

opportunity for discrimination against voters of color. For example, Georgia has

an election requirement that the winner receive a majority of all votes cast. This

prevents a candidate who wins a plurality of votes cast from being elected and

forces a runoff between the top two candidates. By increasing the percentage of

votes needed to win an election, this requirement lessens the prospects for a

candidate of color. Another example is Georgia’s use of large election districts,

including county-wide election districts. Using large election districts increases




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the chances that white voters will be in the majority, thereby enhancing the

prospects of white candidates; subdivided districts result in the election of more

candidates of color.

      215. Georgia also has a history of political campaigns with both overt and

subtle racial appeals.

      216. For example, in January 2017, a Gwinnett County Commissioner

called the late Representative John Lewis—who has been described as “one of the

most courageous persons the Civil Rights Movement ever produced”—a “racist

pig” and suggested his re-election was “all illegitimate” because his district is
                                17
“drawn to keep him in power.”

      217. During the gubernatorial campaign leading up to the 2018 Election,

gubernatorial candidate and then-Secretary of State Brian Kemp posed in a photo

with a man who wore a shirt that stated, “Allah is not God” and was known for




17
  Tyler Estep, Gwinnett commissioner calls John Lewis ‘a racist pig,’ faces
backlash, Atlanta J.-Const. (Jan. 16, 2017), https://www.ajc.com/news/gwinnett-
commissioner-calls-john-lewis-racist-pig-faces-
backlash/K2uAUZFikv57szlncpZilO/.


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                                                   18
ranting about killing Black Lives Matter protesters. Kemp had one arm around

this man and gave a thumbs-up gesture with the other.

      218. During Leader Abrams’ campaign for governor, a robo-call producer

who pretended to be Oprah Winfrey called Georgian voters and spewed racist

comments about Leader Abrams. Those comments included, “This is the magical

Negro Oprah Winfrey asking you to make my fellow Negress Stacey Abrams the

governor of Georgia;” labeling Leader Abrams “a poor man’s Aunt Jemima;” and

“Years ago, the Jews who own the American media saw something in me—the

ability to trick dumb white women into thinking I was like them. I see that same
                               19
potential in Stacey Abrams.”

      219. Members of minority groups in Georgia have been elected to public

office at vastly disparate rates than majority groups. Between 1908 and 1962, not



18
   Greg Bluestein, Critics blast Kemp for posing for photo with anti-Muslim
extremist, Atlanta J.-Const. (Oct. 26, 2018),
https://www.ajc.com/blog/politics/critics-blast-kemp-for-posing-for-photo-with-
anti-muslim-activist/PMFHRugCobgSHKsN9hxmJP/.
19
   Emily Birnbaum, Stacey Abrams, Oprah targeted by racist robocall funded by
white supremacist group, The Hill (Nov. 3, 2018),
https://thehill.com/homenews/campaign/414703-abrams-targeted-by-racist-
robocall-in-georgia.

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a single person of African descent served in the Georgia General Assembly.

Currently, every statewide elected official in Georgia is white, and non-white

Georgians are underrepresented in the Georgia House of Representatives, Senate,

and in the congressional delegation.

      220. These historical, socioeconomic, and other electoral conditions in

Georgia combined with Defendants’ ongoing misconduct prevented voters of

color, and particularly African American voters, from having an equal

opportunity to register and vote. Defendants’ unlawful actions thus imposed a

substantial, unwarranted, and disproportionate burden on account of race or color

in violation of Section 2 of the Voting Rights Act.

      221. Unless enjoined from doing so, Defendants will continue to violate

Section 2 of the Voting Rights Act and inflict injuries for which voters have no

adequate remedy at law.

      222. Plaintiffs are entitled to injunctive and declaratory relief to remedy

these violations of Section 2 of the Voting Rights Act.


                            PRAYER FOR RELIEF




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     WHEREFORE, Plaintiffs respectfully request that this Court enter

judgment:


     1.     Declaring that Georgia’s current elections process violates

            Georgians’ fundamental right to vote under the First and Fourteenth

            Amendments to the U.S. Constitution;

     2.     Declaring that Georgia’s current elections process violates the ban

            on racial discrimination in voting under the Fifteenth Amendment

            to the U.S. Constitution;

     3.     Declaring that Georgia’s current elections process violates

            Georgians’ right to Equal Protection under the Fourteenth

            Amendment to the U.S. Constitution;

     4.     Declaring that Georgia’s “use it or lose it” statute violates

            Georgians’ procedural Due Process rights under the Fourteenth

            Amendment to the U.S. Constitution;

     5.     Declaring that Georgia’s current elections process violates § 2 of

            the Voting Rights Act, 52 U.S.C. § 10301;




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 6.   Declaring that this Court will retain jurisdiction pursuant to § 3(c)

      of the Voting Rights Act, 52 U.S.C. § 10302(c), for such period as it

      may deem appropriate. During such period, no voting qualification,

      prerequisite to voting, or standard, practice, or procedure with

      respect to voting different from that in force or effect at the time the

      proceeding was commenced shall be enforced unless and until this

      Court finds that such qualification, prerequisite, standard, practice,

      or procedure does not have the purpose and will not have the effect

      of denying or abridging the right to vote on account of race or color;

 7.   Permanently enjoining Defendant Secretary of State from using the

      “use it or lose it” statute described above and to reinstate all

      Georgia voters who were removed from the voter registration list

      based on this unconstitutional policy, unless the person is ineligible

      to vote for a different, constitutional reason based on Georgia law;

 8.   Permanently enjoining Defendant Secretary of State from using the

      “exact match” policy described above and to register all Georgia




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      voters whose registrations were not completed based on this

      unconstitutional policy;

 9.   Permanently enjoining Defendants to oversee adequately elections

      by enforcing uniform standards and processes that:

      a.    Ensure that counties accurately, timely, and securely

            process all voter registration requests consistent with

            Georgia and federal law governing voter registration;

      b.    Ensure a functioning, accurate, and secure voter registration

            website where people can check their registration status,

            precinct, and ballot status;

      c.    Document each person whom elections officials or poll

            workers determine will not be given a ballot, the reason for

            the determination, and the person who made the

            determination;

      d.    Ensure that counties accurately and timely process all

            absentee ballot requests consistent with Georgia and federal

            law governing absentee ballots;



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      e.    Ensure each county has and deploys to each polling place

            for any election day an adequate and reasonable number of

            functioning and secure voting machines; an adequate and

            reasonable number of paper ballots and provisional ballots;

            an adequate and reasonable amount of signage, including

            signage explaining voters’ rights; and all other materials or

            tools necessary for voting;

      f.    Ensure each precinct and county has enough ballot-casting

            stations to service adequately the number of voters assigned

            to the precinct, such that no voter will wait longer than 30

            minutes to vote;

      g.    Ensure all registered voters in a precinct can vote without

            unreasonable delay or hardship during any election;

      h.    Ensure each county timely recruits and hires an adequate

            number of elections officials and poll workers before each

            election to ensure proper staffing on any election day;




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      i.    Provide for the timely and systematic training, based on

            comprehensive statewide curriculum, of elections officials

            and poll workers before every election;

      j.    Ensure each county has adequate materials, training, and

            support for all elections officials and poll workers to fairly

            and reasonably administer elections in accordance with

            Georgia and federal law;

      k.    Ensure timely, adequate, and meaningful processes before

            Georgians are deprived of the right to vote, and timely,

            adequate, and meaningful processes for Georgians to

            remedy erroneous deprivations of the right to vote,

            including for voter registration, voter eligibility, and

            provisional ballot casting;

      l.    Establish and maintain requirements and processes for

            periodic reports from county boards of elections and audits

            of county boards of elections’ activities to ensure that the

            foregoing standards, processes, and requirements are



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              adhered to and that each county has adequate procedures,

              policies, and staff in place to ensure efficient, just, and fair

              elections; and

       m.     Provide such periodic reports and audits to be made public

              at or about the same time that they are received by the

              Defendants, including at regular intervals during any

              election day, to allow voters and the public access to

              information about voting problems with sufficient time to

              seek redress about those problems in court;

 10.   Permanently enjoining Defendants to ensure each county conducts

       efficient, just, and fair elections;

 11.   Awarding Plaintiffs their reasonable attorneys’ fees and costs in

       bringing this action; and

 12.   Providing such other and further relief as the Court may deem just

       and proper.

 Respectfully submitted, this, the 3rd day of December, 2020.




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this, the 3rd day of December, 2020, I

electronically filed the foregoing SECOND AMENDED COMPLAINT FOR

DECLARATORY AND INJUNCTIVE RELIEF with the Clerk of Court using

the CM/ECF system, which will automatically send notification of such filing to

all Counsel of Record:


                                      /s/Allegra J. Lawrence
                                      Allegra J. Lawrence
                                      Georgia Bar No. 439797




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